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                                                                                     JUN 12 2015
                        IN THE UNITED STATES DISTRICT COURT               f'!ES w"f ~~J(
                            EASTERN DISTRICT OF ARKANSAS                   y._       ~C ---~ 'CLERK
                                 WESTERN DIVISION                                                      DEPCLERi(


UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                  NO. 4:13CR00180-02 JLH

NANCY LOUISE HELFRICH                                                              DEFENDANT


               AMENDMENT TO .JUDGMENT & COMMITMENT ORDER

       The Judgment & Commitment Order entered on June 9, 2015, is hereby amended to reflect

that the defendant pied guilty to Count 4ss of the THIRD Superseding Indictment.

       All other content and conditions contained in the original Judgment & Commitment Order

remain in full force and effect.

       IT IS SO ORDERED this        [ zY'Lday of June, 2015.




                                                   UNITED STATES DISTRICT JUDGE
